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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

AMERICAN PUBLIC HEALTH ASSOCIATION,
800 I Street NW
Washington, DC 20001,

AMERICAN FEDERATION OF TEACHERS,
555 New Jersey Avenue NW
Washington, DC 20001,

MINORITY VETERANS OF AMERICA,
918 S Horton Street, Suite 924
Seattle, WA 98134,
                                                 COMPLAINT FOR
VOTEVETS ACTION FUND,                            INJUNCTIVE, MANDAMUS,
2201 Wisconsin Avenue NW, #320                   AND DECLARATORY
Washington, DC 20007,                            RELIEF

THE CENTER FOR AUTO SAFETY, INC.,                Case No. 25-cv-167
4400 Jenifer Street, NW, Suite 331
Washington, DC 20015,

CITIZENS FOR RESPONSIBILITY AND
ETHICS IN WASHINGTON
1331 F Street NW
Washington, DC 20004,
              Plaintiffs,

      v.

OFFICE OF MANAGEMENT AND BUDGET,
725 17th Street NW
Washington, DC 20503,

ACTING DIRECTOR OF THE OFFICE OF
MANAGEMENT AND BUDGET, in their official
capacity,
725 17th Street NW
Washington, DC 20503,

DEPARTMENT OF GOVERNMENT
EFFICIENCY, an advisory committee subject to
the Federal Advisory Committee Act,
              Defendants.
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       Plaintiffs American Public Health Association, American Federation of Teachers,

Minority Veterans of America, VoteVets Action Fund, the Center for Auto Safety, Inc.,

and Citizens for Responsibility and Ethics in Washington hereby sue Defendants the Office

of Management and Budget, the Acting Director of OMB, and the Department of

Government Efficiency for violations of the Federal Advisory Committee Act and allege

as follows:

                                   INTRODUCTION

       1.      Plaintiffs, which represent a wide range of people and communities,

including America’s veterans, educators, healthcare workers, public health professionals,

consumers, and those who want to understand what the government is discussing (and with

whom), challenge the creation and operation of the so-called Department of Government

Efficiency (“DOGE”) under the Federal Advisory Committee Act (“FACA”).

       2.      Plaintiffs and those they represent believe that the government should work

for the American people and be transparent, efficient, and effective—and that the

government can and should do better. Like all Americans, Plaintiffs and those they

represent count on the federal government for a wide range of services and programs, from

protecting our national and domestic security, to responding to national emergencies and

crises, to ensuring our roads and transportation are safe, to caring for our veterans, to

supporting life-saving healthcare research and programs, to supporting our nation’s schools

and universities, to lending to small businesses and entrepreneurs, to ensuring safe

workplaces, to protecting our individual rights and enforcing our laws. These services

depend on an efficient, effective, and transparent federal government.




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       3.      The “Department” of Government Efficiency is not a federal department.

Elected representatives in Congress have not established nor have they funded such an

enterprise. DOGE is, instead, a shadow operation led by unelected billionaires who stand

to reap huge financial rewards from this influence and access. Despite these conflicts of

interest, DOGE is slated to dictate federal policy in ways that will affect millions of

Americans, including those communities that Plaintiffs represent. It is doing so under a

shroud of secrecy with none of the transparency, oversight, or opportunity for public

participation the law requires.

       4.      DOGE’s unchecked secrecy, access, and private influence—bought by

political loyalty—is anathema to efficient, effective government. Indeed, any federally

endorsed, but fundamentally private, advisory effort to shape how our government serves

the American people must comply with federal transparency laws, including FACA.

Defendants have not done so.

       5.      President Donald Trump established DOGE to work with the Office of

Management and Budget (“OMB”) through “embedded appointees” at various federal

agencies to develop recommendations on how to “dismantle,” “slash,” and “restructure”

those agencies’ programs.1 DOGE recommendations will “pave the way” for the Trump-

Vance Administration to make drastic cuts to federal programs and services impacting our

national security as well as the lives and livelihoods of millions of Americans.2




1
  See Donald J. Trump (@realDonaldTrump), Truth Social (Nov. 12, 2024, 7:46 PM ET),
https://truthsocial.com/@realDonaldTrump/posts/113472884874740859.
2
  Id.

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       6.      President Trump has tapped two private individuals and campaign donors,

Elon Musk and Vivek Ramaswamy, to lead DOGE’s work,3 supported by an identified

team of private individuals with ties to Mr. Musk and Mr. Ramaswamy or to President

Trump’s first Administration.4 DOGE is already operating as an advisory committee and

began operating even before President Trump took office by “sending representatives to

agencies across the federal government . . . to begin preliminary interviews” with agency

officials, including officials at “the Treasury Department, the Internal Revenue Service and

the departments of Homeland Security, Veterans Affairs, and Health and Human

Services.”5

       7.      Despite its ongoing operations, Defendants have taken none of the required

steps necessary to properly establish DOGE as a federal advisory committee consistent

with FACA.

       8.      DOGE is also ill-suited to lawfully carry out its sweeping mandate because

it does not have a membership that is “fairly balanced in terms of the points of view

represented and the functions to be performed by the advisory committee.” 5 U.S.C.

§ 1004(b)(2). The experiences of Big Tech and pharmaceutical industry billionaires are not

wholly representative of the experiences or interests of the American people. DOGE

excludes the perspectives of people with the greatest stake in the services and programs it

will recommend eliminating. Instead, its advice and recommendations will reflect only the



3
  Id.
4
  Ken Thomas et al., Inside the Early Days of DOGE, Wall St. J. (Jan. 17, 2025),
https://www.wsj.com/politics/policy/doge-federal-reform-musk-ramaswamy-118a3833.
5
  Faiz Siddiqui et al., DOGE is Dispatching Agents Across U.S. Government, Wash. Post
(Jan. 10, 2025), https://www.washingtonpost.com/business/2025/01/10/musk-
ramaswamy-doge-federal-agencies/.

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perspectives of industry titans, who have made clear their desire to be free from the

regulations they propose to slash.

       9.      These significant conflicts of interest are playing out in secret, contrary to

FACA’s transparency requirements. Of particular note, DOGE’s members communicate

using the ephemeral messaging application Signal,6 which is widely used for its auto-delete

functionality.7 DOGE’s use of Signal threatens to irreparably deprive Plaintiffs and the

American public of records to which they are entitled under FACA.

       10.     Plaintiffs therefore respectfully seek relief from this Court in the form of an

order enjoining DOGE from continuing its work until it is brought in compliance with

FACA, including its obligation to make its records available for inspection by the public,

and barring Defendants from accepting or acting upon any advice or recommendations

made by DOGE while it is acting outside the law.

                             JURISDICTION AND VENUE

       11.     This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1331 because this action arises under FACA, 5 U.S.C. § 1001 et seq., and the

Administrative Procedure Act (“APA”), 5 U.S.C. § 702.

       12.     The Court further has jurisdiction pursuant to 28 U.S.C. § 1361, which

grants original jurisdiction to the district courts over “any action in the nature of mandamus




6
  Theodore Schleifer & Madeleine Ngo, Inside Elon Musk’s Plan for DOGE to Slash
Government Costs, N.Y. Times (Jan. 13, 2025),
https://www.nytimes.com/2025/01/12/us/politics/elon-musk-doge-government-
trump.html.
7
  Set and Manage Disappearing Messages, Signal Support,
https://support.signal.org/hc/en-us/articles/360007320771-Set-and-manage-disappearing-
messages.

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to compel an officer or employee of the United States or any agency thereof to perform a

duty owed to the plaintiff.”

       13.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(e) because

Defendants are headquartered in the District of Columbia and a substantial part of the

events giving rise to FACA violations also occurred in the District of Columbia.

                                        PARTIES

       14.     Plaintiff the American Public Health Association (“APHA”) is a non-

partisan, non-profit organization that champions the health of all people and all

communities; strengthens the profession of public health; shares the latest research and

information; promotes best practices; and advocates for public health issues and policies

grounded in scientific research. APHA represents more than 23,000 individual members,

who reside in all 50 states, the District of Columbia, and Puerto Rico, and also has 51 state

and regional affiliates. APHA is the only organization that combines a 150-year

perspective, a broad-based member community, and the ability to influence federal policy

to improve the public’s health.

       15.     Plaintiff American Federation of Teachers (“AFT”) is a membership

organization representing 1.8 million members, who reside in almost every U.S. state, the

District of Columbia, Puerto Rico, and Guam, and who are employed as pre-K through

12th-grade teachers, early childhood educators, paraprofessionals, and other school-related

personnel; higher education faculty and professional staff; federal, state, and local

government employees; and nurses and other healthcare professionals. AFT’s purpose is

to promote fairness, democracy, economic opportunity, and high-quality public education,

healthcare, and public services for students, their families, and communities their members



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serve. AFT does so by ensuring its members receive fair pay and benefits for their critical

work, and by fighting for safe working conditions that also benefit students, patients and

all those who use public services. Helping children and students is at the core of AFT’s

mission. So too is the economic security and dignity of AFT’s members and their families.

       16.     Plaintiff Minority Veterans of America (“MVA”) is a nationwide non-profit

that works to create belonging and advance equity and justice for the minority veteran

community—more than 10.2 million veterans who are or identify as women, people of

color, LGBTQI+, or non-religious or religious minority—many of whom have felt

marginalized, unseen, or unheard during their time in military service and afterward. MVA

routinely engages in direct advocacy about issues of concern to its intersectional movement

of veterans to the U.S. Department of Veterans Affairs (“VA”) and other federal agencies

that administer programs, provide services, or regulate on issues that affect the lives of

veterans. Through its work providing resources and programs to help support veterans

through social engagement, community connection, financial stability, and leadership

development, MVA is in direct contact with veterans, many from historically underserved

populations, and its organizational viewpoint is shaped by their lived experiences.

       17.     Plaintiff VoteVets Action Fund (“VoteVets”) is a non-partisan, non-profit

organization incorporated under the laws of the District of Columbia. VoteVets has nearly

2 million supporters across the country with whom it regularly communicates about issues

affecting veterans, including the operations, programs, and services available through the

VA. VoteVets also routinely communicates with federal policymakers about ways to better

care for our veterans.




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       18.     Plaintiff the Center for Auto Safety, Inc. (“CAS”) is a non-partisan, non-

profit organization incorporated under the laws of the District of Columbia. It is the

nation’s premier independent, member driven, non-profit consumer advocacy organization

dedicated to improving vehicle safety, quality, and fuel economy on behalf of all drivers,

passengers, and pedestrians. It plays a vital role as a preeminent watchdog working to

protect consumers by representing their interests before the Department of Transportation

(“DOT”) and the National Highway Traffic Safety Administration (“NHTSA”), as well as

other relevant federal agencies.

       19.     Plaintiff Citizens for Responsibility and Ethics in Washington (“CREW”)

is a non-partisan, non-profit government watchdog organization committed to protecting

the rights of citizens to be informed about the activities of government officials and

agencies, and to ensuring ethics, transparency, and integrity in government. To advance its

mission, CREW uses a combination of research, litigation, and advocacy. As part of its

research, CREW routinely uses government records made available to it under FACA, the

Freedom of Information Act (“FOIA”), and other federal laws, and widely disseminates

those records to the public.

       20.     Defendant OMB is a federal agency within the meaning of FACA, 5 U.S.C.

§ 1001(3), and the APA, 5 U.S.C. § 551(1), that is headquartered in the District of

Columbia. As the federal agency President Trump assigned to work with DOGE, OMB has

a nondiscretionary duty to ensure that DOGE complies with FACA.

       21.     Defendant the Acting Director of OMB is sued in their official capacity. As

the acting head of OMB, the Acting Director has a nondiscretionary duty to ensure that

DOGE complies with FACA.



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         22.   Defendant DOGE is a de facto advisory committee within the meaning of

FACA, 5 U.S.C. § 1001(2)(A), that is headquartered in the District of Columbia.

                                LEGAL BACKGROUND

I. The Federal Advisory Committee Act

         23.   Congress enacted FACA in 1972 as a “sunshine law” to curb the Executive

Branch’s reliance on superfluous and secretive “advisory committees”: ad hoc, non-federal

bodies that counsel governmental decisionmakers on federal policy. Congress was

particularly concerned that advisory committees “were often dominated by representatives

of industry and other special interests seeking to advance their own agendas.” Cummock v.

Gore, 180 F.3d 282, 284 (D.C. Cir. 1999) (citing H.R. Rep. No. 92-1017 (1972), reprinted

in 1972 U.S.C.C.A.N. 3491, 3496). To address those concerns, FACA establishes strict

requirements for the creation and conduct of such committees that are designed to “promote

transparency, accountability, and open public participation in executive branch decisions

and prevent informal advisory committees from exerting improper or one-sided influence.”

VoteVets Action Fund v. U.S. Dep’t of Veterans Affs., 992 F.3d 1097, 1101 (D.C. Cir.

2021).

         24.   FACA defines an “advisory committee” as a “committee, board,

commission, council, conference, panel, task force, or other similar group, or any

subcommittee or other subgroup thereof . . . that is established or utilized to obtain advice

or recommendations for the President or one or more agencies or officers of the Federal

Government[.]” 5 U.S.C. § 1001(2)(A).




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       25.     An advisory committee subject to FACA can be “(i) established by statute

or reorganization plan; (ii) established or utilized by the President; or (iii) established or

utilized by one or more agencies.” Id.

       26.     An advisory committee is established if it is “created by the federal

government” and it is utilized if it is “subject to the federal government’s ‘actual

management or control,’ even if it is not created by the government.” VoteVets Action

Fund, 992 F.3d at 1103–04 (quoting Wash. Legal Found. v. U.S. Sentencing Comm’n, 17

F.3d 1446, 1450 (D.C. Cir. 1994)).

       27.     Consistent with FACA’s goal of limiting the number of advisory

committees “to the minimum necessary,” 5 U.S.C. § 1002(b)(2), a new advisory committee

may be established only if: (1) it is “specifically authorized by statute or by the President”;

or (2) the head of an agency “determine[s] as a matter of formal record,” after consulting

with the Administrator of the General Services Administration (“GSA”) and publishing

“timely notice . . . in the Federal Register,” that its creation is “in the public interest in

connection with the performance of duties imposed on that agency by law,” 5 U.S.C.

§ 1008(a).

       28.     Relatedly, FACA further requires that, before establishing a new advisory

committee, “the President, agency heads, or other Federal officials determine . . . whether

the functions of the proposed advisory committee are being or could be performed by one

or more agencies or by an advisory committee already in existence, . . . by enlarging the

mandate of an existing advisory committee,” 5 U.S.C. §§ 1004(b)-(c), or through some

“other means such as a public hearing or other methods of public engagement,” 41 C.F.R.

§ 102-3.60(b)(2).



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       29.     Any advisory committee must also have, among other requirements, (i) “a

clearly defined purpose”; (ii) a membership that is “fairly balanced in terms of the points

of view represented and the functions to be performed by the advisory committee”; and

(iii) “appropriate provisions to assure that the advice and recommendations of the advisory

committee will not be inappropriately influenced by the appointing authority or by any

special interest, but will instead be the result of the advisory committee’s independent

judgment.” 5 U.S.C. §§ 1004(b)(1)-(3).

       30.     The agency must also create a Membership Balance Plan (“MBP”), which

must describe “the agency’s plan to attain fairly balanced membership,” as well as “the

agency’s conclusions regarding the points of view that would promote fairly balanced

committee membership.” 41 C.F.R. § 102-3.60(b)(3).

       31.     FACA’s implementing regulations specifically provide that, in thinking

about the range of viewpoints that ought to be represented, agencies must “fully consider

and understand the potential implications or anticipated impacts of the advisory

committee’s potential recommendations.” 41 C.F.R. § 102-3.60(b)(3)(i). That will

necessarily require “consideration of the groups and entities potentially affected or

interested in such recommendations, . . . so that the agency can make informed decisions

on the areas of expertise or perspectives (including relevant lived experience) that would

advance the work of the advisory committee.” Id.

       32.     Agencies must then “conduct broad outreach, using a variety of means and

methods, to ensure that the call for nominees reaches the interested parties and stakeholder

groups likely to possess those points of view.” 41 C.F.R. § 102-3.60(b)(3)(ii).




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       33.      Once these predicate findings are made, the advisory committee is still

prohibited from “meet[ing] or tak[ing] any action until an advisory committee charter has

been filed” with the GSA Administrator, if the committee will advise the President, or “the

head of the agency to whom the advisory committee reports” and the relevant Senate and

House committees, if the committee will advise an agency. See 5 U.S.C. § 1008(c).

       34.      The charter must contain the following information:

       (A) the committee’s official designation;
       (B) the committee’s objectives and the scope of its activity;
       (C) the period of time necessary for the committee to carry out its purposes;
       (D) the agency or official to whom the committee reports;
       (E) the agency responsible for providing the necessary support for the
       committee;
       (F) a description of the duties for which the committee is responsible, and,
       if the duties are not solely advisory, a specification of the authority for the
       duties;
       (G) the estimated annual operating costs for the committee in dollars and
       person-years;
       (H) the estimated number and frequency of committee meetings;
       (I) the committee’s termination date, if less than 2 years from the date of
       the committee’s establishment; and
       (J) the date the charter is filed.

5 U.S.C. § 1008(c)(2).

       35.      Once in operation, advisory committees must facilitate public comment and

participation by keeping their meetings “open to the public” and providing “timely notice

of each meeting” through the Federal Register, 5 U.S.C. §§ 1009(a)(1)-(2), which GSA has

interpreted to mean “at least 15 calendar days” notice, unless less notice is justified by

documented and “exceptional circumstances,” 41 C.F.R. § 102-3.150.

       36.      Within reason, interested members of the public must “be permitted to

attend, appear before, or file statements with any advisory committee.” 5 U.S.C.

§ 1009(a)(3).



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       37.       In addition, FACA requires disclosure of “the records, reports, transcripts,

minutes,      appendixes,   working    papers,     drafts,   studies,   agenda,   [and]   other

documents . . . made available to or prepared for” the committee, subject to the exemptions

of FOIA. 5 U.S.C. § 1009(b). To meet this obligation, affirmative publication of committee

records is required. See 41 C.F.R. § 102-3.170 (“[A]gencies may not require members of

the public or other interested parties to file requests for non-exempt advisory committee

records.”).

       38.       These materials must be released well before the relevant advisory

committee meeting, so that the public can “follow the substance of the [committee’s]

discussions.” Food Chem. News v. Dep’t of Health & Hum. Servs., 980 F.2d 1468, 1472

(D.C. Cir. 1992); see also 41 C.F.R. § 102-3.170 (requiring “contemporaneous availability

of advisory committee records”).

       39.       FACA requires that “[d]etailed minutes of each meeting,” containing

specified information, “of each meeting of each advisory committee shall be kept.” 5

U.S.C. § 1009(c).

       40.       Finally, FACA’s transparency obligations extend to a subcommittee or

working group of an advisory committee, which must also open its meetings and provide

all records to the public if it “makes recommendations directly to a Federal officer or

agency, or if its recommendations will be adopted by the parent advisory committee

without further deliberations by the parent advisory committee.” 41 C.F.R. § 102-3.145.

II. The Administrative Procedure Act

       41.       The APA permits judicial review by persons “suffering legal wrong because

of agency action, or adversely aggrieved by agency action.” 5 U.S.C. § 702; see id. §§ 703-



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704. Under the APA, a “reviewing court . . . shall compel agency action unlawfully

withheld or unreasonably delayed,” id. § 706(1), and “hold unlawful and set aside agency

action, findings, and conclusions found to be . . . arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law,” id. § 706(2).

III.    Mandamus

        42.     Where a plaintiff can “demonstrate (1) a clear and indisputable right to

relief, (2) that the government agency or official is violating a clear duty to act, and (3) that

no adequate alternative remedy exists,” Am. Hosp. Ass’n v. Burwell, 812 F.3d 183, 189

(D.C. Cir. 2016), “[t]he district courts shall have original jurisdiction” to compel

performance of the duty by issuing a writ of mandamus, 28 U.S.C. § 1361.

                                            FACTS

I. President Trump established DOGE to work with OMB and develop
   recommendations and advice for OMB and other federal agencies.

    A. President Trump’s establishment of DOGE and its membership.

        43.     On November 12, 2024, President Trump announced the creation of DOGE

and stated “that the Great Elon Musk, working in conjunction with American Patriot Vivek

Ramaswamy,” would lead the effort.8

        44.     In establishing DOGE, President Trump made clear that it would not be a

formal part of the government, despite its governmental-sounding name. Instead, DOGE

was created to “provide advice and guidance from outside of Government” to “the White

House and Office of Management & Budget,” recommendations that President Trump said




8
 See Donald J. Trump (@realDonaldTrump), Truth Social (Nov. 12, 2024, 7:46 PM ET),
https://truthsocial.com/@realDonaldTrump/posts/113472884874740859.

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he expects will “pave the way” for the Trump-Vance Administration to “dismantle,”

“slash,” and “restructure” federal programs and services.9

        45.    DOGE is operating publicly as a government affiliated entity, holding itself

out on X as a “government or multilateral organization.”10

        46.    President Trump appointed Elon Musk and Vivek Ramaswamy, two private

citizens and billionaire campaign donors, to lead DOGE’s work.11

        47.    Mr. Musk is among the wealthiest people in the world and holds key roles

and financial interests in, among other ventures, the space technology company, SpaceX,

the automotive company, Tesla, and X, the social media platform formerly known as

Twitter.

        48.    Mr. Ramaswamy made his fortune in the pharmaceutical industry and, more

recently, founded an investment firm with interests in oil and gas investments and

cryptocurrency.12

        49.    President Trump subsequently assigned William (Bill) McGinley, a lawyer

and lobbyist aligned with the Republican Party who was originally slated to serve as his

White House Counsel, “to serve as Counsel to [DOGE].”13



9
  See id.
10
   See Department of Government Efficiency (@DOGE), X, https://x.com/doge?lang=en
(last visited Jan. 18, 2025); see also About Grey Checkmark, X,
https://help.x.com/en/using-x/grey-checkmark (last visited Jan. 18, 2025) (“The grey
checkmark is for governments and multilateral organizations.”).
11
   Donald J. Trump (@realDonaldTrump), Truth Social (Nov. 12, 2024, 7:46 PM ET),
https://truthsocial.com/@realDonaldTrump/posts/113472884874740859.
12
   Jessica Piper, How Vivek Ramaswamy Made a Fortune Before Pivoting to Politics,
Politico (May 14, 2023), https://www.politico.com/news/2023/05/14/how-vivek-
ramaswamy-made-money-00096046.
13
   Donald J. Trump (@realDonaldTrump), Truth Social (Dec. 4, 2024, 12:50 PM ET),
https://truthsocial.com/@realDonaldTrump/posts/113595819146944245.

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        50.    President Trump also appointed Katie Miller to DOGE. Mrs. Miller served

as a spokesperson for the Trump-Vance transition team and, previously, held multiple

senior communications positions during President Trump’s first term.

        51.    In addition to Mr. McGinley and Mrs. Miller, Mr. Musk and Mr.

Ramaswamy will lead a team that includes Steve Davis and Brad Smith,14 who will help

coordinate the work of various DOGE volunteers.15

        52.    Mr. Davis, the president of a tunnel construction company owned by Mr.

Musk called the Boring Company, has led “[t]he day-to-day operations of DOGE.”16

        53.    Mr. Smith, a healthcare executive who served in President Trump’s first

administration, has acted as a chief of staff to DOGE.17

        54.    Mr. Musk and Mr. Ramaswamy, consistent with their assignment from

President Trump, have stated that they intend for DOGE to provide advice and

recommendations on “three major kinds of reform: regulatory rescissions, administrative

reductions and cost savings.”18




14
   Theodore Schleifer & Noah Weiland, Musk Cost-Cutting Effort Is Being Guided by
Health Entrepreneur, N.Y. Times (Dec. 6, 2024),
https://www.nytimes.com/2024/12/06/us/politics/elon-musk-doge-brad-smith-
trump.html.
15
   Cat Zakrzewski & Jacqueline Alemany, Elon Musk Isn’t the Only Tech Leader Helping
Shape the Trump Administration, Wash. Post (Jan. 13, 2025),
https://www.washingtonpost.com/politics/2025/01/13/andreessen-tech-industry-trump-
administration-doge/ (describing Marc Andreessen’s involvement with DOGE as an “an
unpaid volunteer”).
16
   Thomas et al., supra note 4.
17
   See id.
18
   See Elon Musk & Vivek Ramaswamy, The DOGE Plan to Reform Government, Wall.
St. J. (Nov. 20, 2024), https://www.wsj.com/opinion/musk-and-ramaswamy-the-doge-
plan-to-reform-government-supreme-court-guidance-end-executive-power-grab-
fa51c020.

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        55.    Mr. Musk and Mr. Ramaswamy have also confirmed that DOGE will work

with “embedded appointees” at various federal agencies to develop its recommendations

for “reform.”19 The “reform” they have in mind will carry a hefty price tag for the American

people, as Mr. Musk and Mr. Ramaswamy have set a goal of slashing between $500 billion

and $2 trillion in federal spending.

        56.    DOGE has already begun its operations, as multiple news organizations

have reported, by “sending representatives to agencies across the federal government . . . to

begin preliminary interviews” with agency officials, including officials at “the Treasury

Department, the Internal Revenue Service and the departments of Homeland Security,

Veterans Affairs, and Health and Human Services.”20

        57.    On information and belief, DOGE expects to receive classified information

from the Trump-Vance Administration and has sought out office space in Washington, DC

“where [Mr.] Musk and DOGE staffers could review” such sensitive government

material.21

        58.    On information and belief, DOGE will also be assigned office space for its

use on the White House campus at the Eisenhower Executive Office Building and at

OMB.22

        59.    On information and belief, OMB exercises management and control over

DOGE’s operations.




19
   See id.
20
   Siddiqui et al., supra note 5.
21
   Thomas et al., supra note 4.
22
   Id.; Schleifer & Ngo, supra note 6.

                                             17
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     B. DOGE will provide advice and recommendations on dismantling, slashing,
        and restructuring federal programs and services.

        60.    President Donald Trump established DOGE to develop recommendations

on how to “dismantle,” “slash,” and “restructure” those agencies’ programs.23 It is now

working with OMB toward that end and, together with OMB, will “mak[e]

recommendations to Congress and the Trump administration on ways to bring down

spending and cut regulations.”24

        61.    When considering President Trump’s nomination of Russell Vought for

OMB Director, U.S. Senator Rand Paul, Chairman of the Senate Homeland Security and

Governmental Affairs Committee, observed that one of the OMB Director’s primary

responsibilities will be to “collaborate with” DOGE.25

        62.    Mr. Musk and Mr. Ramaswamy have said that DOGE “will focus

particularly on driving change through executive action” that the Trump-Vance

Administration can take unilaterally at their urging.26 That includes, in their view,

recommendations for defunding federal programs and services through the impoundment

of lawfully appropriated federal funds.27




23
   Donald J. Trump (@realDonaldTrump), Truth Social (Nov. 12, 2024, 7:46 PM ET),
https://truthsocial.com/@realDonaldTrump/posts/113472884874740859.
24
   Thomas et al., supra note 4.
25
   Press Release, U.S. Senate Comm. on Homeland Sec. & Governmental Affs., Dr. Paul
Delivers Opening Remarks at Hearing on Nomination of Russell Vought to be Director
of the Office of Management and Budget (Jan. 15, 2025),
https://www.hsgac.senate.gov/media/reps/dr-paul-delivers-opening-remarks-at-hearing-
on-nomination-of-russell-vought-to-be-director-of-the-office-of-management-and-
budget/.
26
   Musk & Ramaswamy, supra note 18.
27
   Id.

                                            18
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        63.    A primary focus for DOGE’s defunding recommendations will be the

estimated “1,200+ programs that are no longer authorized but still receive appropriations”

totaling more than $516 billion.28

        64.    Such programs, to which Congress allocates money regularly, implicitly

authorizing them, provide health care for veterans, the largest such program; funding for

drug research and development; opioid addiction treatment; and resources for education,

the National Aeronautics and Space Administration, the Federal Aviation Administration;

HIV/AIDS; and tuberculosis and malaria treatment and research, among other things.29

        65.    DOGE has already begun the work of identifying programs, services, and

regulations it will recommend cutting.30

        66.    Through its social media account on X, DOGE stated it “is undergoing a

serious analysis of wasteful and burdensome regulations” and called for public feedback,

including “the CFR provision, the relevant text of the regulation, and the adverse

consequences of said regulation.”31

        67.    Working from a report published by a conservative advocacy organization,

the Wisconsin Institute for Law and Liberty, the members of DOGE are scrutinizing




28
   Vivek Ramaswamy (@VivekGRamaswamy), X (Nov. 13, 2024, 1:19 PM ET),
https://x.com/VivekGRamaswamy/status/1856763732363546813.
29
   See Jacob Bogage, 10 Programs That Could Be on the ‘Government Efficiency’
Chopping Block, Wash. Post (Nov. 16, 2024),
https://www.washingtonpost.com/business/2024/11/16/trump-musk-ramaswamy-doge-
program/.
30
   See Thomas et al., supra note 4 (“Some of DOGE’s early work has involved reviewing
past audits of federal agencies, to help guide the work and identify potential cuts and
inefficiencies.”).
31
   See Department of Government Efficiency (@DOGE), X (Dec. 1, 2024, 1:00 AM ET),
https://x.com/DOGE/status/1867087144424182178.

                                           19
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programs viewed as promoting diversity, equity, and inclusion (“DEI”).32 The programs

being examined provide support for small businesses, farmers, veterans, and more.33

        68.      DOGE has made clear that eliminating federal initiatives aimed at

addressing racism will be a constant in its work and it has already called out scientific

studies funded by the National Institutes of Health (“NIH”) as examples of the programs it

will target.34

        69.      DOGE’s co-leader, Mr. Musk, has also identified the Consumer Financial

Protection Bureau as an area of federal government to “delete,”35 despite the fact that it has

saved American consumers billions of dollars. Mr. Ramaswamy has likewise stated that

the incoming administration should nullify a CFPB rule limiting overdraft fees and limit

the power of the agency across the board.36

        70.      DOGE’s members are not only speaking to each other about these ideas and

recommendations, they have also begun meeting with “staffers at more than a dozen federal

agencies,” including “the Treasury Department, the Internal Revenue Service and the

departments of Homeland Security, Veterans Affairs, and Health and Human Services.”37


32
   See Jacob Bogage & Faiz Siddiqui, Musk’s DOGE Weighs Recommendations to Cut
Federal Diversity Programs, Wash. Post (Jan. 16, 2025),
https://www.washingtonpost.com/business/2025/01/16/musk-ramaswamy-diversity-doge-
dei/.
33
   See id.
34
   See Department of Government Efficiency (@DOGE), X (Nov. 30, 2024, 10:42 AM
ET), https://x.com/DOGE/status/1862884929954017308.
35
   Elon Musk (@elonmusk), X (Nov. 27, 2024, 12:35 AM ET),
https://x.com/elonmusk/status/1861644897490751865.
36
   Ayelet Sheffey, DOGE Doubles Down on Eliminating the Government Agency That’s
Cracking Down on Overdraft Fees, Bus. Insider (Dec. 26, 2024),
https://www.businessinsider.com/doge-delete-cfpb-elon-musk-vivek-ramaswamy-
overdraft-fees-trump-2024-12.
37
   Siddiqui et al., supra note 5.

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     C. DOGE lacks a fair balance of relevant viewpoints among its members, who
        have substantial personal financial conflicts of interest.

        71.    Despite DOGE’s sweeping mandate, which implicates a wide range of issue

areas, programs, and services in which Plaintiffs have a direct interest, DOGE’s

membership does not include anyone who brings the perspective of the people and

communities that will be most directly affected by the drastic cuts to the federal programs

and services that DOGE will recommend.

        72.    For instance, although Mr. Ramaswamy has declared “[h]ealthcare [to be]

a critical frontier for DOGE,”38 and DOGE has already begun scrutinizing NIH research

funding decisions viewed as supporting DEI,39 it does not have any members with a

background or focus on public health or patient safety. Those with a background in

healthcare, like Mr. Smith, bring a business perspective on healthcare and health systems.

That focus on profitability may, in some cases, complement public health goals, though

not always. And it nevertheless reflects a distinct perspective from the one public health

advocates, like Plaintiff APHA, would bring to DOGE’s work.

        73.    Mr. Ramaswamy also sees reducing federal support for and oversight of

public education to be the “key solution to our federal deficit problem.” 40 And Mr. Musk

has argued that efforts to promote diversity, equity, and inclusion in public education—

concerns he derides as “the woke mind virus”—is to blame for flagging test scores.41 Yet,


38
   Vivek Ramaswamy (VivekGRamaswamy), X.com (Nov. 23, 2024, 3:44 PM),
https://x.com/VivekGRamaswamy/status/1860469404603154707.
39
   See Department of Government Efficiency (@DOGE), X.com (Nov. 30, 2024, 7:42
AM), https://x.com/DOGE/status/1862884929954017308.
40
   Bianca Quilantan, DOGE vs. the Education Department, Politico (Jan. 6, 2025),
https://www.politico.com/newsletters/weekly-education/2025/01/06/doge-vs-the-
education-department-00196523.
41
   See id.

                                            21
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as publicly reported, DOGE does not include any educators or advocates for students, such

as Plaintiff AFT.

        74.    The quantity of federal spending DOGE hopes to eliminate also implicates

the interests of veterans because the proposed cuts will be impossible to implement without

adversely affecting the quality of healthcare offered to veterans. Similarly, recommending

eliminating 75 percent of the federal workforce, as DOGE has promised to do, will have a

staggering effect on employment rates for veterans, which constitute nearly 30 percent of

the federal workforce.42 And yet, DOGE does not include a single veteran’s group, like

Plaintiffs MVA or VoteVets.

        75.    Likewise, the drastic cuts DOGE has forecasted will greatly diminish the

federal government’s ability to provide proper oversight of the automotive industry and

diligently investigate, document, and address issues that threaten the safety of drivers,

passengers, and pedestrians. Federal automotive regulators, like DOT and NHTSA, are

struggling to carry out their full mission under current funding levels and their work will

only get harder as they adapt to sweeping technological changes in the industry, such as

autonomous vehicles. Substantial cuts to their funding or legal authority will deal a

crushing blow to their ability to function with the end result being greater risk to those on

the road.

        76.    Despite these pressing challenges, DOGE does not include anyone who

brings a consumer- and safety-oriented perspective to automotive safety, as Plaintiff CAS


42
  Press Release, Nat’l Fed’n of Fed. Emps., So-called Department of Government
Efficiency Would be Responsible for Nearly 500,000 Veteran Layoffs if Musk and
Ramaswamy Execute Stated Plans (Nov. 20, 2024), https://nffe.org/press-release/so-
called-department-of-government-efficiency-would-be-responsible-for-nearly-500000-
veteran-layoffs-if-musk-and-ramaswamy-execute-stated-plans/.

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does, to balance the perspective of Mr. Musk, whose car company, Tesla, is currently being

investigated by NHTSA to determine if its self-driving software has safety issues.43

        77.    Nor does DOGE include representative voices from civil society, like

CREW, who have long shared DOGE’s stated mission of promoting government efficiency

and shining a light on genuine waste, fraud, and abuse. DOGE’s proposed cuts will

undermine those goals. They will exacerbate the already-substantial delays FOIA

requesters experience in obtaining federal records, thwarting a critical mechanism for

government transparency and accountability. Government ethics experts such as CREW

are likewise absent from DOGE. That is especially problematic given the serious conflicts

of interests concerns posed by DOGE business owners wielding outsized influence over

and unfettered access to the agencies that regulate them.

        78.    These glaring omissions in the viewpoints represented by DOGE’s current

membership are hardly surprising, given that Defendants undertook no outreach to ensure

that DOGE would have the benefit of a membership with a fairly balanced set of

viewpoints.

        79.    Indeed, the extent of DOGE’s apparent outreach to interested participants

has been its calls for “super high-IQ small-government revolutionaries willing to work 80+

hours per week on unglorious cost-cutting,” and individuals with “exceptional ability” in

software and informational security engineering, to apply for employment with DOGE by

sending a direct message to its X account.44


43
   Max Hauptman, Full Self-Driving Software in 2.4 Million Tesla Vehicles Faces Probe
by Federal Agency, USA Today (Oct. 18, 2024),
https://www.usatoday.com/story/money/cars/2024/10/18/tesla-full-self-driving-software-
nhtsa-investigation/75730547007/.
44
   See Department of Government Efficiency (@DOGE), X (Nov. 14, 2024, 10:03 AM
                                               23
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       80.     On information and belief, there have been no publicly announced

opportunities for those interested in serving as a member of DOGE to apply. The only

members are President Trump’s allies and donors that he has announced or that have been

reported.

       81.     Nevertheless, Plaintiffs VoteVets and CREW have taken proactive steps to

indicate their willingness to participate in DOGE’s work and to provide their perspectives

on government efficiency, which are currently unrepresented.

       82.     In a letter dated January 14, 2025, CREW urged DOGE to include groups

representing the broad array of stakeholders, like Plaintiffs, who will be directly affected

by DOGE’s work. DOGE did not respond.

       83.     Likewise, VoteVets attempted to contact DOGE by sending a direct

message to its official X account to request an opportunity for VoteVets Senior Advisor

Major General (ret.) Paul Eaton to participate as a member of DOGE in order to represent

the interests and provide the perspective of America’s veterans. DOGE did not respond.

       84.     These efforts were likely taken in vain, unfortunately. In response to similar

requests to participate in DOGE’s work made by non-partisan, non-profit organizations,

Mrs. Miller, a spokesperson for the Trump-Vance transition and DOGE member, indicated

that participation on DOGE is closed, at least to anyone who might express disagreement

with DOGE’s premise or the Trump-Vance Administration’s policy preferences.45



ET), https://x.com/DOGE/status/1857076831104434289; Department of Government
Efficiency (@DOGE), X (Jan. 7, 2025, 12:38 AM ET),
https://x.com/DOGE/status/1876503769489281261.
45
   See David A. Fahrenthold, Two Watchdogs Were Rebuffed From Joining Trump’s
Cost-Cutting Effort, N.Y. Times (Jan. 16, 2025),
https://www.nytimes.com/2025/01/16/us/doge-trump-watchdogs.html (“President
Trump’s Truth made clear we have no room in our administration for Democrats.”).

                                            24
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        85.     Plaintiffs that have not shouted their willingness to participate as a member

of DOGE into the void also have an interest in their viewpoints being represented, even if

that representation comes through another individual or organization.

        86.     Defendants have also failed to provide assurances that DOGE’s advice and

recommendations will be the product of the independent judgment of its members, as

opposed to undue influence from President Trump or the members’ respective special

interests.

        87.     For instance, on information and belief, Defendants have taken no steps to

insulate DOGE’s recommendations from the personal financial conflicts of its members,

including the staggering conflicts of Mr. Musk, whose “companies were promised $3

billion across nearly 100 different contracts last year with 17 federal agencies.”46

     D. DOGE’s establishment and operation lacks transparency and has deprived
        Plaintiffs of essential information.

        88.     While DOGE is already operational, Defendants have taken no action to

comply with FACA, including by making a formal determination that DOGE’s creation

serves the public interest, nor have they filed a charter identifying the scope of DOGE’s

work.

        89.     Public reporting indicates that DOGE’s members are communicating about

DOGE’s work using the ephemeral messaging application Signal,47 which is widely used

for its auto-delete functionality.48


46
   See Eric Lipton et al., U.S. Agencies Fund and Fight With Elon Musk. A Trump
Presidency Could Give Him Power Over Them, N.Y. Times (Oct. 21, 2024),
https://www.nytimes.com/2024/10/20/us/politics/elon-musk-federal-agencies-
contracts.html.
47
   Schleifer & Ngo, supra note 6.
48
   Set and Manage Disappearing Messages, supra note 7.

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        90.    Mr. Musk has, in his personal capacity, previously used the auto-delete

functionality of Signal, even in settings where he appears to have had a legal obligation to

preserve those messages.49

        91.    DOGE records, including those existing on Signal, provide the public with

critical information about who is influencing DOGE’s recommendations to the Trump

administration, what viewpoints and communities are being excluded, and why the

“advisory committee performs a necessary function not already being performed.” 5 U.S.C.

§ 1004(a).

        92.    There have been no public assurances that DOGE’s records, including those

existing on Signal, will be made available to the public.

        93.    For each of their distinct areas of focus, Plaintiffs have a clear interest in

understanding which issues and sources of information DOGE is considering and what

recommendations this influential advisory body will make to the Trump-Vance

Administration.

        94.    DOGE’s continued use of the ephemeral messaging application Signal to

communicate exacerbates Plaintiffs’ injuries by irreparably depriving them of government

records to which they are entitled under FACA, which impedes their ability to carry out

their respective organizational missions.

                                            ***




49
   See Kevin T. Dugan, Elon Musk Got Caught Deleting Messages—and 3 Other
Takeaways From His Latest Court Hearing, Intelligencer (Sept. 29, 2022),
https://nymag.com/intelligencer/2022/09/elon-musk-caught-deleting-messages-about-the-
twitter-deal.html.

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        95.    DOGE’s unnecessary and unjustified creation, lack of transparency, lack of

viewpoint diversity, and failure to prevent inappropriate influence by special interests, as

well as Defendants’ failure to file a charter before DOGE began its work, are violations

that strike at the heart of FACA.

        96.    Now, while skirting FACA’s requirements, DOGE is moving quickly to

deliver recommendations to the Trump-Vance Administration.

        97.    President Trump has instructed DOGE to conclude its work by July 4, 2026

but DOGE will provide recommendations well before then. According to Mr. Ramaswamy,

DOGE will be advising federal agencies and providing recommendations “on a real time

basis,”50 “starting on Jan[uary] 20.”51

        98.    To stop these violations of FACA before the illegally operating DOGE

begins providing recommendations on cutting important government programs and

services affecting the people and communities Plaintiffs serve, Plaintiffs respectfully seek

relief from this Court in the form of an order enjoining DOGE from continuing its work

until it is brought in compliance with FACA, compelling it to release all DOGE records to

the public, and barring Defendants from accepting or acting upon the advice and

recommendations of DOGE made based on work conducted while it is not in compliance

with FACA.




50
   Vivek Ramaswamy (@VivekGRamaswamy), X (Nov. 17, 2024, 11:11 AM ET),
https://x.com/VivekGRamaswamy/status/1858181075421303134.
51
   See Vivek Ramaswamy (@VivekGRamaswamy), X (Dec. 2, 2024, 8:59 PM ET),
https://x.com/VivekGRamaswamy/status/1863764934514938118.

                                            27
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                                   CLAIMS FOR RELIEF

                                  Count One
                              APA, 5 U.S.C. § 706
 Violation of FACA: Unlawful Establishment and Utilization of a Federal Advisory
                                  Committee

        99.     Plaintiffs repeat and incorporate by reference each of the foregoing

allegations as if fully set forth herein.

        100.    DOGE is an advisory committee within the meaning of FACA because it is

“a committee, board, commission, council, conference, panel, task force, or other similar

group” that has been “established or utilized to obtain advice or recommendations for the

President or one or more agencies or officers of the Federal Government.” 5 U.S.C.

§ 1001(2)(A).

        101.    FACA requires that certain findings and certifications are made and steps

are taken before an agency may create an advisory committee. Defendants failed, in

multiple respects, to comply with these requirements.

        102.    In particular, on information and belief, Defendants have failed to consult

with the Administrator of GSA, explain why DOGE is “in the public interest in connection

with the performance of duties imposed on that agency by law,” 5 U.S.C. § 1008(a)(2), or

determine whether “the functions” of DOGE “could be performed by one or more agencies

or by an advisory committee already in existence.” 5 U.S.C. §§ 1004(b), (c).

        103.    Defendants have also failed to ensure that DOGE has (i) “a clearly defined

purpose”; (ii) a membership that is “fairly balanced in terms of the points of view

represented and the functions to be performed by the advisory committee”; and

(iii) “appropriate provisions to assure that the advice and recommendations of the advisory

committee will not be inappropriately influenced by the appointing authority or by any

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special interest, but will instead be the result of the advisory committee’s independent

judgment.” 5 U.S.C. §§ 1004(b)(1)-(3), (c).

        104.   DOGE’s membership fails to include the perspectives of those connected to

the people with the greatest stake in the services, programs, and regulatory protections it

will recommend eliminating, like Plaintiffs. Those same members not only bring a far too

narrow set of perspectives and experiences to DOGE’s work but also have significant

financial conflicts and political ties, which call into question their ability to be objective

and not inappropriately influenced President Trump or their own special interests.

Defendants have failed to take affirmative steps to prevent those conflicts from influencing

DOGE’s advice and recommendations.

        105.   Finally, Defendants have failed to file a charter for DOGE, 5 U.S.C.

§ 1008(c), despite the fact that DOGE’s work has already begun or, at a minimum, began

as soon as President Trump was sworn into office.52

        106.   Accordingly, Defendants’ establishment and utilization of DOGE was

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law,” 5

U.S.C. § 706(2)(A), and “without observance of procedure required by law,” id.

§ 706(2)(D).

        107.   Defendants’ failure to make public its prerequisite findings and

determinations regarding DOGE, or to file a charter, also constitutes agency action that

was “unlawfully withheld or unreasonably delayed,” 5 U.S.C. § 706(1), “or otherwise not

in accordance with law,” id. § 706(2).


52
   See Vivek Ramaswamy (@VivekGRamaswamy), X (Dec. 2, 2024, 8:59 PM ET),
https://x.com/VivekGRamaswamy/status/1863764934514938118 (asserting that DOGE
would “carefully scrutinize” certain government contracts “starting on Jan 20”).

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        108.    Defendants’ failure to comply with FACA in relation to DOGE is “final

agency action for which there is no other adequate remedy in a court,” id. § 704, and

Plaintiffs are “entitled to judicial review” of those FACA violations under the APA, id. §

702.

                                     Count Two
                                APA, 5 U.S.C. § 706
       Violation of FACA: Failure to Make DOGE’s Records Publicly Available

        109.    Plaintiffs repeat and incorporate by reference each of the foregoing

allegations as if fully set forth herein.

        110.    FACA requires that “the records, reports, transcripts, minutes, appendixes,

working papers, drafts, studies, agenda, or other documents which were made available to

or prepared for or by each advisory committee shall be available for public inspection and

copying at a single location in the offices of the advisory committee or the agency to which

the advisory committee reports until the advisory committee ceases to exist.” 5 U.S.C. §

1009(b).

        111.    DOGE has failed to make any of its records publicly available.

        112.    FACA committees must preserve substantive records in accordance with

the Federal Records Act and Presidential Records Act, as applicable.53

        113.    Public reporting indicates that DOGE’s members are communicating using

the ephemeral messaging application Signal,54 which is widely used for its auto-delete

functionality.55



53
   See General Records Schedule 6.2: Federal Advisory Committee Records, Nat’l
Archives (Aug. 2015), https://www.archives.gov/files/records-mgmt/grs/grs06-2.pdf.
54
   Schleifer & Ngo, supra note 6.
55
   Set and Manage Disappearing Messages, supra note 7.

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        114.    DOGE’s use of Signal threatens to irreparably deprive Plaintiffs and the

American public of records to which they are entitled under FACA, including critical

information regarding DOGE’s activities, areas of focus, and recommendations, and

frustrate Plaintiffs’ respective missions to understand and educate the public and their

constituents regarding federal policy developments in their areas of expertise.

        115.    Defendants’ failure to disclose and maintain these records in violation of

FACA is an agency action that is “arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law.” 5 U.S.C. § 706(2).

        116.    Plaintiffs have “no other adequate remedy in a court,” id. § 704, and are

therefore “entitled to judicial review” of this FACA violation under the APA, id. § 702.

                                     Count Three
                                  APA, 5 U.S.C. § 706
               Violation of FACA: Failure to Make DOGE Fairly Balanced

        117.    Plaintiffs repeat and incorporate by reference each of the foregoing

allegations as if fully set forth herein.

        118.    FACA requires that an advisory committee be “fairly balanced in terms of

the points of view represented and the functions to be performed by the advisory

committee.” 5 U.S.C. § 1004(b)(2).

        119.    DOGE is not fairly balanced because it excludes the perspectives of many

people, including Plaintiffs’ constituencies, who have a direct stake in the services and

programs DOGE will recommend eliminating and a direct interest in DOGE’s stated

mission.

        120.    DOGE has provided the public with no formal opportunity to apply for

membership, but Plaintiffs have nonetheless asked for representation on DOGE to no avail.



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The Trump-Vance Administration has conveyed that DOGE membership is closed and will

not include perspectives that do not align with those of the Trump-Vance Administration.

        121.    Plaintiffs are directly injured by their lack of representation on DOGE and

their inability to influence its recommendations on equal terms with DOGE’s members.

        122.    Defendants’ establishment and utilization of DOGE without the fairly

balanced membership required by FACA was “arbitrary, capricious, an abuse of discretion,

or otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A), and “without observance

of procedure required by law,” id. § 706(2)(D). It is also “final agency action for which

there is no other adequate remedy in a court,” id. § 704, and Plaintiffs are “entitled to

judicial review” of those FACA violations under the APA, id. § 702.

                                      Count Four
                              Mandamus, 28 U.S.C. § 1361
                   Violation of Non-Discretionary Duties under FACA

        123.    Plaintiff repeats and incorporates by reference each of the foregoing

allegations as if fully set forth herein.

        124.    As alleged above, supra ¶¶ 20-21, 23-40, FACA imposes non-discretionary

duties on Defendants with respect to the establishment, utilization, disclosure of records,

and fair balance of federal advisory committees.

        125.    As alleged above, supra ¶¶ 43-98, Defendants have violated each of these

non-discretionary duties under FACA.

        126.    As alleged above, supra ¶¶ 14-19, 71-86, 94-95, Plaintiffs have a clear right

to relief from Defendants’ FACA violations.

        127.    To the extent that the Court finds that the APA does not authorize any of

the relief sought herein, mandamus is Plaintiffs’ only adequate remedy.



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        128.   Plaintiffs are therefore entitled to a writ of mandamus compelling

Defendants to comply with their non-discretionary duties under FACA.

                                PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that this Court:

   1.      issue an injunction and/or a writ of mandamus compelling Defendants to take

           affirmative steps to ensure that records of DOGE remain available for public

           access;

   2.      declare that Defendants’ creation and administration of DOGE violates the

           APA, FACA, and FACA’s implementing regulations, and that the

           establishment of DOGE is therefore unlawful;

   3.      set aside all decisions attendant to DOGE’s creation, including the

           appointments of individual committee members and alternate members;

   4.      through the named Defendants, enjoin DOGE and any of its subdivisions from

           meeting, advising federal agencies, and otherwise conducting committee or

           subcommittee business until it becomes compliant with FACA;

   5.      order Defendants to immediately release all materials prepared for DOGE or its

           subcommittees, and to provide a Vaughn index for such material and those

           withheld from production for any reason;

   6.      enjoin Defendants from relying on any recommendations or advice from DOGE

           made based on work conducted while it is not in compliance with FACA;

   7.      award Plaintiffs their costs, attorneys’ fees, and other disbursements for this

           action; and

   8.      grant any other relief this Court deems appropriate.



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Dated: January 20, 2025          Respectfully submitted,

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